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 7
                                      UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00210-TLN

11                                 Plaintiff,            ORDER SEALING DOCUMENTS AS SET FORTH
                                                         IN RESPONDENT’S NOTICE
12                          v.

13   JAGPAL SINGH,

14                                Defendant.

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18          Pursuant to Local Rule 141(b) and based upon the representation contained in the Respondent’s
19 Request to Seal, IT IS HEREBY ORDERED that the Respondent’s Exhibit 2 to Government’s

20 Opposition to Defendant’s Motion for Immediate Release pertaining to Defendant Jagpal Singh, and the

21 Government’s Request to Seal shall be SEALED until further order of this Court.

22          It is further ordered that electronic access to the sealed documents shall be limited to the United
23 States and counsel for Defendant.

24          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
25 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

26 the Government’s Request, sealing the Governments’s Request and Exhibit 2 serves a compelling
27 interest. The Court further finds that, in the absence of closure, the compelling interests identified by the

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 1 Government would be harmed. In light of the public filing of its Notice to Seal, the Court further finds

 2 that there are no additional alternatives to sealing the Government’s Request and Exhibit 2 that would

 3 adequately protect the compelling interests identified by the Government.

 4          IT IS SO ORDERED.

 5 DATED: April 23, 2020

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                                                                   Troy L. Nunley
 8                                                                 United States District Judge

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